              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

  UNITED STATES OF AMERICA,

                          Plaintiff,
  v.                                             Case No. 97-CR-98-JPS-10

  DAVID A. KADLEC,

                          Defendant.                              ORDER

       On August 26, 2013, the defendant filed a motion for a reduction in his

 sentence, pursuant to 18 U.S.C. § 3582(c)(2); the defendant argues that a

 reduction is warranted in light of Amendment 591 to the United States

 Sentencing Guidelines, which became effective November 1, 2000. (See

 Docket #2058). Specifically, the defendant argues that Amendment 591

 changed how his base offense level must be calculated, thus warranting a

 sentence reduction.

       On August 27, 2013, the Court ordered the government (in

 consultation with the probation office) to submit a response to the

 defendant’s motion, after which the defendant could file a reply, should he

 chose to do so. (See Docket #2059). The motion was briefed in accordance

 with the Court’s order on October 11, 2013. (See Docket #2063). However, on

 October 21, 2013, the government chose to file a supplemental response to

 the defendant’s reply brief. (See Docket #2064). The defendant then moved

 to strike the government’s supplement, arguing that it was neither required

 nor permitted by the Court’s August 27, 2013 briefing order. (See Docket

 #2065).




Case 2:97-cr-00098-JPS     Filed 06/03/15     Page 1 of 11    Document 2108
        As will be discussed more fully below, the Court will deny the

 defendant’s motion for a reduction in his sentence and thus will deny as

 moot the defendant’s motion to strike the government’s supplemental

 response.

 1.     BACKGROUND

        1.1    Facts

        The defendant was charged in a multi-count superseding indictment

 with: (1) conducting or participating in the affairs of an enterprise through

 a pattern of racketeering activity (Count One), see 18 U.S.C. § 1962(c); and,

 (2) engaging in a racketeering conspiracy (Count Two), see 18 U.S.C.

 § 1962(d). (See Docket #793). The defendant was named in three racketeering

 predicate acts and, as relevant here, Racketeering Act 2 alleged that the

 defendant and others committed an act involving murder, in violation of

 Wis. Stat. §§ 940.01(1) and 939.05. (See Docket #2058-1 at 1); (Docket #2060 at

 1). In June 2000, a jury found that two of the three racketeering predicate acts

 were proven as to the defendant—including Act 2—and found him guilty of

 Counts One and Two of the superseding indictment. (Docket #2058 at 1);

 (Docket #2060 at 2).

        The defendant was sentenced on October 12, 2000. For Count One,

 Racketeering Act 2, the Court adopted the sentencing guideline

 recommendations submitted by the probation department in the Pre-

 Sentence Report (“PSR”). (See Docket #1922 at 7-8). The PSR guideline

 recommendation states:

        The guideline for violations of 18 U.S.C. §§ 1962(c) and (d) is
        found in U.S.S.G. §§ 2E1.1(a)(1) and (2) which states the base
        offense level is 19 or the offense level applicable to the
        underlying racketeering activity, whichever is higher…
                                      …


                                  Page 2 of 11
Case 2:97-cr-00098-JPS       Filed 06/03/15      Page 2 of 11    Document 2108
        The underlying conduct for [Racketeering] Act 2, conspiracy to
        commit murder, is in violation of Sections 940.01(1) and
        939.05(1) of the Wisconsin Statutes. Act 2 is a murder in the
        first degree and found in U.S.S.G. § 2A1.1, which has a base
        offense level of 43.

 (See PSR ¶¶ 135, 136). When all of the racketeering acts the defendant was

 found guilty of were combined and adjusted pursuant to U.S.S.G. § 3D1.4,

 the defendant’s base offense level remained 43. Id. at ¶ 148-154. After tacking

 on an adjustment for obstruction of justice, the defendant’s total offense level

 was 45. Id. at ¶ 158.

        During the sentencing hearing, the defendant objected to the use of

 U.S.S.G. § 2A1.1 for Racketeering Act 2; namely, he argued that “the most

 analogous federal offense,” under U.S.S.G. § 2E1.1 appl. n.2, was second

 degree murder or manslaughter, requiring use of § 2A1.2 or § 2A1.3,

 respectively, to determine his base offense level. (See Docket #1922 at 15);

 (Docket #2058-1 at 4, 5). According to the defendant, he did not play a

 substantial role in the killing and had no premeditated intent to kill. (See, e.g.,

 Docket #1922 at 22); (see also Docket #2058-1 at 5) (“It was defense counsel’s

 position that utilization of the First Degree Murder guideline (43) was

 inappropriate because there was no indication that the defendant…had an

 intent to kill.”). The Court overruled the defendant’s objection, finding that

 the defendant was “intimately involved” in the offense, id. at 23, and went

 to the site of the murder with “full knowledge and intent” that the victim

 “was never going to live to tell about this,” id. at 19.

        Based on the foregoing, the defendant received a life sentence for

 Count One and another life sentence for Count Two, which were to be served

 concurrently. (See Docket #1676).



                                   Page 3 of 11
Case 2:97-cr-00098-JPS        Filed 06/03/15      Page 3 of 11     Document 2108
        1.2    Overview of Amendment 591

        Amendment 591 “modified the guidelines to require that sentencing

 courts apply the Chapter 2 offense guideline from the Statutory Index, see

 U.S.S.G. app. A, corresponding to the statute of conviction.” United States v.

 Hardamon, 167 Fed. Appx. 571, 573 (7th Cir. 2006) (citing United States v.

 Kosmel, 272 F.3d 501, 507 (7th Cir. 2001)). “Previous practice allowed

 sentencing courts to select a Chapter 2 offense guideline based on the

 defendant’s actual conduct, even if that conduct did not result in conviction.”

 Id. (citing United States v. Moreno, 421 F.3d 1217, 1219 (11th Cir. 2005) and

 United States v. Rivera, 293 F.3d 584, 585 (2d Cir. 2002)).

        While the defendant was sentenced prior to the effective date of

 Amendment 591 (October 12, 2000, to be exact), the amendment is retroactive

 pursuant to U.S.S.G. §1B1.10, and thus is a permissible basis for the

 defendant’s § 3582(c)(2) motion. See United States v. Shipp, 41 Fed. Appx. 884,

 884 (7th Cir. 2002) (“Section 1B1.10 of the guidelines identifies the

 amendments for which a subsequent reduction in prison sentence would be

 consistent with the policy of the Sentencing Commission, and Amendment

 591 is included in the list. Amendment 591, therefore, is a proper basis on

 which to make a § 3582(c) motion.”); United States v. Hardamon, 167 Fed.

 Appx. 571, 573 (7th Cir. 2006) (same).

 2.     DISCUSSION

        2.1    The Defendant’s § 3582(c)(2) Motion

        The defendant’s § 3582(c)(2) motion argues that Amendment 591

 changed how his base offense level must be calculated, therefore permitting

 a reduction in his sentence. (See Docket #2058-1). The defendant’s argument

 in his initial brief is woefully inadequate, however, and argues rather

 circuitously and confusingly that the Court’s decision to “follow the dictate

                                  Page 4 of 11
Case 2:97-cr-00098-JPS       Filed 06/03/15      Page 4 of 11   Document 2108
 of § 2E1.1 and use the greater of the two offense levels [was] inconsistent

 with and defeats the purpose of Amendment 591.” (Docket #2058-1). The

 defendant seems to be arguing—as best the Court can tell—that because

 Amendment 591 does not allow uncharged conduct to be used to select the

 offense guideline, and he believes there was insufficient evidence to show

 premeditation, this should result in the Court defaulting to the base offense

 level of 19 stated in § 2E1.1(a)(1).

        The substance of the defendant’s argument becomes clearer in his

 reply; that said, his argument also takes a noticeable shift. (See Docket #2063).

 Namely, the defendant argues that Amendment 591 changed the language

 in U.S.S.G. § 1B1.2(a), and that language “prohibit[s] using First Degree

 Murder as the offense conduct.” (Docket #2063 at 2). This is so, according to

 the defendant, because §1B1.2(a) was amended from “most applicable” to

 “applicable,” and thus courts are constrained to apply the Statutory Index

 and determine the offense guideline based on the actual conviction of the

 defendant, and not uncharged conduct. Id. at 2-3. Thus, the defendant argues,

 “[t]he resultant effect of Amendment 591 when applied to U.S.S.G. § 2E1.1

 does not permit the Court to use First Degree Murder as the statutory index

 offense” because that crime requires malice aforethought and the Wisconsin

 statutes the defendant was convicted under for Racketeering Act 2—first

 degree intentional homicide (party to a crime), see Wis. Stat. §§ 940.01(1) and

 939.05—do not require malice aforethought. (Docket #2063 at 2-3). What all

 of this means, according to the defendant, is that Amendment 591 modified

 § 2E1.1 to disallow use of analogous crimes under § 2E1.1 appl. n.2, and thus

 the default base offense level of 19 applies to the defendant’s conduct.




                                   Page 5 of 11
Case 2:97-cr-00098-JPS        Filed 06/03/15      Page 5 of 11    Document 2108
         The government filed a response (Docket #2060), and a supplemental

 response to the defendant’s reply (Docket #2064). In the latter, the

 government points out the shift in the defendant’s argument, noted above,

 stating that the defendant originally argued that “since the state offense of

 first degree intentional homicide…was not in the statutory index, the Court

 was compelled to apply the default offense level of 19,” but in the

 defendant’s reply he “appears to take a new tack” and now argues “as his

 attorney did at sentencing, that the state offense of first degree intentional

 homicide is not analogous to the federal offense of first degree murder”

 because the latter requires malice aforethought and the former does not. Id.

 at 1-2. The government then goes on to argue, at length, why the Wisconsin

 first degree intentional homicide statute, see Wis. Stat. § 940.01(1), and the

 federal first degree murder statute, see 18 U.S.C. § 1111, are analogous; the

 government also argues that the defendant’s assertion that Amendment 591

 modified U.S.S.G. § 2E1.1 is erroneous. (See Docket #2064 at 2-8).

         The Court need not elaborate further on the parties’ arguments

 because neither party cited to or discussed the relevant and convincing case

 law that directly forecloses the defendant’s request for relief.1 Indeed, that




         1
           Confusion over the scope of Amendment 591, which appears to be the case
 here, is a common theme. See Rivera, 293 F.3d at 585 (“The logical defect in Rivera’s
 petition is that it confuses…the applicable offense guideline with…the base offense level
 within that applicable offense guideline.”); United States v. Grecco, 342 Fed. Appx.
 739, 745 (3d Cir. 2009) (noting that the defendant gave Amendment 591 “short
 shrift, relying instead on provisions of the Guidelines which were not affected by
 Amendment 591”); United States v. Standiford, 129 Fed. Appx. 304, 305 (7th Cir. 2005)
 (noting that the defendant “appears to misunderstand the effect of [Amendment
 591]”); Hayes v. United States, 141 Fed. Appx. 463, 464 (7th Cir. 2005) (“Hayes
 misunderstands Amendment 591.”).

                                      Page 6 of 11
Case 2:97-cr-00098-JPS          Filed 06/03/15       Page 6 of 11       Document 2108
 case law provides a simple resolution to the defendant’s motion. The Court

 now turns to that discussion.

        2.2     Analysis

        To begin, it is critical to note what Amendment 591 governs and what

 it does not. As stated by the Second Circuit in Rivera, any argument that

 Amendment 591 “governs the selection of the base offense level within the

 offense guideline selected from the Statutory Index” is mistaken. 293 F.3d at

 586. Such an argument “confuses two distinct steps taken to arrive at a

 guidelines sentence: [1] selection of the applicable offense guideline, and [2]

 selection of the base offense level within that applicable offense guideline.” Id.

 “The plain wording of Amendment 591 applies only to the choice of the

 applicable offense guideline, and not to the subsequent selection of the base

 offense level.” Id.; accord United States v. Minicone, 347 Fed. Appx. 637, 638 (2d

 Cir. 2009); see United States v. Hurley, 374 F.3d 38, 40-41 (1st Cir. 2004) (same);

 United States v. Moreno, 421 F.3d 1217, 1220 (11th Cir. 2005) (“We agree with

 the reasoning of our sister circuits and hold that…Amendment 591 only

 applies to the selection of the relevant offense guideline, not the selection of

 a base offense level within the applicable offense guideline…”); United States

 v. Jones, 143 Fed. Appx. 526, 528 (4th Cir. 2005) (“Amendment 591 does not

 impact how the base offense level is calculated within the appropriate

 guideline. Instead, Amendment 591 affects which guideline will be used in

 determining the base offense level.”); United States v. Gonzalez, 401 Fed.

 Appx. 727, 729 (3d Cir. 2010) (same); United States v. Grecco, 342 Fed. Appx.

 739, 744-747 (3d Cir. 2009) (same).

        And, the Seventh Circuit has cited Rivera and Hurley favorably, albeit

 in non-precedential orders, for the same proposition. See Hayes v. United

 States, 141 Fed. Appx. 463, 464 (7th Cir. 2005) (noting that Amendment 591

                                   Page 7 of 11
Case 2:97-cr-00098-JPS        Filed 06/03/15      Page 7 of 11     Document 2108
 “merely instructed courts how to select an offense guideline in Chapter 2 of

 the manual,” but “did not prohibit the practice of using relevant conduct to

 calculate an offense level”) (citing Hurley, 374 F.3d at 40-41 and Rivera, 293

 F.3d at 586-87); see also Shipp, 41 Fed. Appx. at 884 (same, citing Rivera).

        Accordingly, when a § 3582(c)(2) motion is brought under

 Amendment 591, a defendant is entitled to relief only when the court selected

 “an offense guideline based on actual conduct not underlying the offense of

 conviction.” Rivera, 293 F.3d at 587.

            Based on the foregoing, Amendment 591 is of no help to the

 defendant. Namely, the Court used the offenses the defendant was convicted

 of—racketeering and conspiracy to commit racketeering, 18 U.S.C. §§ 1962(c),

 and (d)—to select the corresponding (and still correct) offense guideline in

 the Statutory Index—U.S.S.G. § 2E1.1. See U.S.S.G. §1B1.2(a); U.S.S.G.

 Statutory Index (Appendix A). That is all the defendant is entitled to under

 Amendment 591—nothing more. See Grecco, 342 Fed. Appx. at 746 (stating

 that if a district court “correctly selected the appropriate offense guideline for

 the statute of conviction using the Statutory Index,” then “the Amendment

 591 analysis stops there”). Indeed, in racketeering cases similar to the instant

 matter, courts have held that the application of § 2E1.1—including cross-

 referencing the underlying racketeering activity— falls outside the scope of

 Amendment 591. See Hurley, 374 F.3d 38, 40-41; Minicone, 347 Fed. Appx. at

 638; Grecco, 342 Fed. Appx. at 746-47; Gonzalez, 401 Fed. Appx. at 729.2

        Consequently, the remainder of the defendant’s argument concerning

 the Court’s determination of his base offense level—i.e. whether the use of


        2
          Indeed, the Second Circuit in Grecco was faced with an identical argument
 in a factually indistinguishable case, and rejected it for the same reasons. 342 Fed.
 Appx. at 744-47.

                                    Page 8 of 11
Case 2:97-cr-00098-JPS         Filed 06/03/15      Page 8 of 11      Document 2108
 § 2A1.1 is warranted for first degree intentional homicide under Wis. Stat.

 §§ 940.01(1) and 939.05—is not cognizable in an 18 U.S.C. §3582(c)(2) motion

 made pursuant to Amendment 591. See Minicone, 347 Fed. Appx. at 638

 (“Minicone does not argue [in his § 3582(c)(2) motion]…that the sentencing

 court erred in its selection of U.S.S.G § 2E1.1 as the applicable offense

 guideline. Rather, he argues that the court erred in its application of

 § 2E1.1(a)(2) in calculating his base offense level. This argument is beyond the

 scope of Amendment 591…”); Grecco, 342 Fed Appx. at 746-47 (“Because

 Amendment 591 does not impact the District Court’s subsequent application

 of the USSG § 2E1.1(a)(2) cross reference for ‘underlying racketeering

 activity,’ it has no bearing on the sentencing errors alleged…and, therefore,

 provides no basis for a [sentence] reduction…pursuant to 18 U.S.C.

 § 3582(c)(2).”); Hurley, 374 F.3d at 40.3

        Furthermore, while the Seventh Circuit has not addressed U.S.S.G.

 § 2E1.1 in light of Amendment 591, its decisions interpreting Amendment 591

 in other contexts are in accord with this Court’s holding. See United States v.

 Johnson, 560 Fed. Appx. 617, 618 (7th Cir. 2014); United States v. Standiford, 129

 Fed. Appx. 304, 305-06 (7th Cir. 2005); Hardamon, 167 Fed. Appx. at 573;

 Hayes, 141 Fed. Appx. at 464; Shipp, 41 Fed. Appx. at 884.

        Finally, even were the Court to consider the defendant’s argument

 that 18 U.S.C. § 1111 is not analogous to Wis. Stat. §§ 940.01(1) and 939.05,

 thus precluding the use of U.S.S.G. § 2A1.1, the defendant’s motion would



        3
          Or, to state it a slightly different way, Amendment 591 did not alter § 2E1.1
 (or its application), nor did Amendment 591 modify the Statutory Index; thus, all
 of the defendant’s arguments that flow from the Court’s use and application of
 § 2E1.1 provide no basis for relief. See Hurley, 374 F.3d at 40; Grecco, 342 Fed. Appx.
 at 745, 746-47; Gonzalez, 401 Fed. Appx. at 729.

                                     Page 9 of 11
Case 2:97-cr-00098-JPS          Filed 06/03/15      Page 9 of 11      Document 2108
 still fare the same. In United States v. Carr, 424 F.3d 213 (2d Cir. 2005), the

 Second Circuit was faced with, and rejected, a similar argument concerning

 a New York murder statute. Id. at 230-31. Discussing that argument, the court

 stated:

           Carr contends that the district court erred in applying the base
           offense level for the federal offense of first degree murder. One
           of the underlying racketeering acts for which Carr was found
           guilty was second-degree murder under New York Penal Law.
           The Guidelines required the district court to apply the base
           offense level for the “analogous federal offense” in order to
           calculate Carr's base offense level…. U.S.S.G. § 2E1.1, appl. n.
           2 (“If the underlying conduct violates state law, the offense
           level corresponding to the most analogous federal offense is
           to be used.”). Carr argues that because second-degree murder
           under New York law requires only that he “unlawfully,
           intentionally and knowingly” [committed] murder[], the
           “analogous federal offense” could not be first-degree murder,
           since that requires a finding of “malice aforethought,” see 18
           U.S.C. § 1111(a). However, as we made clear in considering a
           virtually identical challenge in United States v. Minicone, 960
           F.2d 1099 (2d Cir.), cert. denied, 503 U.S. 950 (1992), “the district
           court did not err in concluding that the most analogous federal
           offense [to the New York offense of second degree murder]
           was first degree murder under [18 U.S.C.] § 1111,” id. at 1110.
           “[T]he absence of reference to premeditation or malice
           aforethought [in the state law] does not mean that federal first
           degree murder is not the most analogous federal offense.”
           United States v. Diaz, 176 F.3d 52, 123 (2d Cir.), cert. denied sub
           nom. Rivera v. United States, 528 U.S. 875 (1999). We therefore
           conclude that Carr's argument in this regard is without merit.

 Id.; accord Minicone, 347 Fed. Appx. at638-39; see also Gonzalez, 401 Fed. Appx.

 at 729. The Court finds the Second Circuit’s analysis persuasive in this

 regard. Thus, were the Court to reach this issue—which, again, it need not

 do to resolve the defendant’s motion—the Court would nevertheless find its

 use of U.S.S.G. §2A1.1 proper.


                                      Page 10 of 11
Case 2:97-cr-00098-JPS          Filed 06/03/15      Page 10 of 11      Document 2108
 3.    CONCLUSION

       For all of the reasons noted above, the Court is obliged to deny the

 defendant’s motion for a reduction in his sentence (Docket #2058). Having

 reached this result, the Court will also deny as moot the defendant’s motion

 to strike the government’s supplemental response (Docket #2065).

       Accordingly,

       IT IS ORDERED that the defendant’s motion for a reduction in his

 sentence, made pursuant to 18 U.S.C. § 3582(c)(2) (Docket #2058), be and the

 same is hereby DENIED; and

       IT IS FURTHER ORDERED that the defendant’s motion to strike the

 government’s supplemental response (Docket #2065) be and the same is

 hereby DENIED as moot.

       Dated at Milwaukee, Wisconsin, this 3rd day of June, 2015.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




                                Page 11 of 11
Case 2:97-cr-00098-JPS     Filed 06/03/15    Page 11 of 11    Document 2108
